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                          IN THE UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


   KATE GRANT and KARMANN KASTEN,
   LLC,
                                                           DEFENDANT MILLCREEK
   Plaintiffs,                                           COMMERCIAL PROPERTIES, LLC
                                                              AND KEVIN LONG’S
   v.                                                      SUPPLEMENTAL RULE 7.1
                                                           DISCLOSURE STATEMENT
   KEVIN LONG, MILLCREEK
   COMMERCIAL PROPERTIES, LLC, et al.
                                                            Case No. 2:23-0936-AMA-CMR
   Defendants.
                                                             Judge Ann Marie McIff Allen

                                                          Magistrate Judge Cecilia M. Romero


         Pursuant to the Court’s order of February 19 and 26, 2025, Defendants Millcreek

  Commercial Properties, LLC (“Millcreek”) and Kevin Long (“Long”), through their undersigned

  counsel, hereby file the following supplemental disclosure under rule 7.1 of the Federal Rules of

  Civil Procedure.
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         Millcreek is an inactive Utah limited liability company that was voluntarily dissolved as of

  February 1, 2025. As a result, Millcreek does not have any active members. Millcreek had the four

  following members at the time it was active:

         (i)     KGL Real Estate Development, PLLC, a Utah professional liability company

                 with its principal place of business in Lindon, Utah. KGL Real Estate

                 Development’s sole member is Kevin Long, an individual who resides in and is a

                 citizen of Utah and is a party in the above-captioned matter.

         (ii)    Smart Cove, LLC, a Utah limited liability company with its principal place of

                 business in South Jordan, Utah. Smart Cove’s sole member is Spencer Taylor, an

                 individual who resides in and is a citizen of Utah.

         (iii)   GTR Holdings, LLC, a Utah limited liability company with its principal place of

                 business in South Jordan, Utah. GTR Holdings has two members, Brent Smith and

                 Makenzie Smith, both of whom reside in and are citizens of Utah.

         (iv)    Long Holdings, L.L.C, a Utah limited liability company with its principal place

                 of business in Provo, Utah. Long Holdings’ sole member is Jerald Long, an

                 individual who is temporarily residing in Massachusetts (for school) but maintains

                 his citizenship in Utah.

  Millcreek does not have a parent corporation, and no publicly held corporation owns 10% or more

  of its stock or membership interests.

         Long is an individual who resides in and is a citizen of Utah. So no entity information is

  required for Long under Rule 7.1.

         Jurisdiction in this case is not based on diversity under 28 U.S.C. § 1332(a).


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       DATED: February 28, 2025

                                   PARR BROWN GEE & LOVELESS

                                   By: /s/ Bentley J. Tolk
                                          Bentley J. Tolk
                                          Rodger M. Burge


                                   Attorneys for Kevin Long and Millcreek Commercial, LLC




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on February 28, 2025, I caused to be served a true and correct copy of

  the foregoing DEFENDANT MILLCREEK COMMERCIAL PROPERTIES, LLC AND

  KEVIN LONG’S SUPPLEMENTAL CORPORATE DISCLOSURE STATEMENT via the

  CM/ECF system, which automatically provided notice to all counsel of record.


  By: /s/ Bentley J. Tolk
